         Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 1 of 7




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                            §
                                                  §           Case No. 21-30895–JPN
Big Kat Daddys, LLC,                              §
                                                  §                Chapter 11
          Debtor.                                 §               Subchapter V


          FIRST INTERIM APPLICATION FOR COMPENSATION OF
     JARROD B. MARTIN, SUBCHAPTER V TRUSTEE AS DISBURSING AGENT


Pursuant to Bankruptcy Local Rule 9013:

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
         OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
         TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
         MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
         AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
         IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
         AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
         DECIDE THE MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         A HEARING HAS BEEN SCHEDULED FOR NOVEMBER 20, 2024 AT 11:00 A.M.
         BEFORE THE HONORABLE JEFFREY P. NORMAN. PARTIES MAY APPEARAN IN
         PERSON AT 515 RUSK, COURTROOM 403, HOUSTON, TX 77002 OR VIA
         TELEPHONE/VIDEO.

         PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL
         ORDER 2020-10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY
         PUBLIC HEALTH OR SAFETY CONDITIONS.

         PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN
         INTERNET CONNECTION. TO ACCESS THE HEARING, DIAL 1 (832) 917-1510.
         CONFERENCE CODE: 174086.

         TELEPHONIC PARTICIPANTS MAY CONNECT ON-LINE TO VIEW THE COURT’S
         BROADCAST ONTO THE COURTROOM’S TELEVISION MONITORS. TO VIEW
         ONLINE, YOU MAY CONNECT THROUGH THE WEBSITE LOCATED AT:

         https://www.gotomeet.me/JudgeNorman



FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 1
           Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 2 of 7




TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

           Jarrod B. Martin, Subchapter V Trustee, moves the Court for an order approving this

    final application for compensation and expense reimbursement as the duly appointed Trustee in

    the amount of $19,623.43, which includes fees of $19,150.50 and costs of $472.93, and

    allowing him the same as an administrative expense against the bankruptcy estate for work

    related to post-confirmation work as the disbursing agent of a non-consensual plan and in

    support states as follows:

                                           JURISDICTION

          1.      The court has jurisdiction over this matter pursuant to 28 U.S.C. §1334(a), (b) and

(e) and General Order 2012-7 of the United States District Court for this District.

          2.      This is a core proceeding in which the Court may enter a final order pursuant to 28

U.S.C. §157(b)(2)(A), (B), (M) and (O).

          3.      This Court has constitutional authority to enter a final order regarding this matter.

Court approval of fees and expenses of estate professionals has no equivalent in state law, thereby

rendering the Supreme Court’s opinion in Stern v. Marshall inapplicable. See In re Carlew, 469

B.R. 666, 672 (Bankr. S.D. Tex. 2012) (discussing See Stern v. Marshall, 564 U.S. 462 (2011)).

In the alternative, allowance and payment of professional fees under §§ 330(a) and 503 of the

Bankruptcy Code is an essential bankruptcy matter which triggers the “public rights” exception.

See Id.

                                           BACKGROUND

          4.      On March 11, 2021 (“Petition Date”), Big Kat Daddys, LLC (“Debtor”) filed a

voluntary petition under Subchapter V of Chapter 11 (“Petition”). 1 The Debtor operates as a



1
    ECF No. 1.

FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 2
          Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 3 of 7




bar/restaurant located at 463 FM 1488, Conroe, TX 77384 since 2009. The Debtor’s primary

income is derived from the sale of alcoholic beverages, food and entertainment. 2

          5.    The following day, the United States Trustee (“UST”) appointed Jarrod B. Martin

as the Subchapter V Trustee pursuant to § 1183(a). 3

          6.    The Court confirmed the Debtor’s Chapter 11 Plan by Order dated August 31, 2021

(“Confirmation Order”), 4 as a non-consensual plan and the Trustee is acting as the disbursing

agent.

          7.    The Trustee requests the amount of $19,623.43, which includes fees of $19,150.50

and costs of $472.93 for post-confirmation work as a disbursing agent. The average fees during

the period equate to less than $550.00 per month to act in this capacity, which is less than one-

hour of time at the Trustee’s current billable rate of $600 per hour. The Trustee did not increase

his fees during the pendency of the plan, which results in a substantial discount to the former

debtor.

          8.    The Trustee is currently holding $9,953.74 in a segregated retainer account for

payments for his fees.

          9.    The Trustee anticipates that the plan and his final report will be filed no later than

January 30, 2025, depending on the status of outstanding disbursements.

                          TRUSTEE APPOINTMENT AND DUTIES

          10.   On June 1, 2021, the Office of the United States Trustee appointed Mr. Martin as

the Trustee for this case. 5   The Trustee is compensated on an hourly basis, and all payments to




2
  ECF No. 38
3
  ECF No. 8.
4
  ECF No. 64.
5
  ECF No. 3.

FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 3
        Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 4 of 7




be made to the Trustee are to be from funds held by the debtor; no other payments have been

promised to him other than those approved by the Court.

       11.     As the Trustee, Mr. Martin is subject to the statutory duties set for in § 1183, which

1183, which incorporates by reference certain chapter 7 trustee duties as specified in § 704(a) and

certain chapter 11 trustee duties as specified in § 1106(a). The trustee has a fiduciary responsibility

to the bankruptcy estate. The Trustee has an obligation to monitor the case, assessing the financial

viability of the Debtor, communicating with creditors, and facilitating the development of a

consensual plan of reorganization. Because a debtor-in-possession can be removed pursuant to

§ 1183(b)(5), the Trustee must be diligent in his duties. However, the Trustee is also cognizant of

the cost constraints in Subchapter V cases.

       12.     Pursuant to the Handbook for Small Business Chapter 11 Subchapter V Trustees,

the Trustee may seek compensation for its work in the case prior to the conversion of dismissal.

       13.     The Trustee is a “case-by-case” trustee compensated through § 330(a)(1)(A) which

allows for “reasonable compensation for actual, necessary services rendered by the trustee … and

by any paraprofessional person employed by any such person.”

       14.     In determining the amount of reasonable compensation to be awarded, the court shall

consider the nature, the extent, and the value of such services, taking into account all relevant

factors, including:

                      a. the time spent on such services;

                      b. the rates charged for such services;

                      c. whether the services were necessary to the administration of the case, or
                         beneficial at the time at which the services were rendered; and

                      d. whether the services were performed within a reasonable amount of time
                         commensurate with the complexity, importance, and nature of the problem,
                         issue, or task addressed.


FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 4
        Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 5 of 7




       15.     Mr. Martin is an experienced bankruptcy lawyer having been licensed since 2009.

The Trustee is a former law clerk to the Honorable Jeff Bohm, has acted as a trial attorney with the

Office of the United States Trustee, and has represented bankruptcy trustees, Chapter 7 and Chapter

11 debtors in numerous bankruptcy cases. Mr. Martin is one of only a handful of Subchapter V

Small Business Chapter 11 Case Trustees for this district. Ms. Coleman is a senior paralegal in the

bankruptcy, restructuring, and creditors’ rights practice at Chamberlain Hrdlicka White Williams

& Aughtry and has worked with the Trustee for more than six years. Ms. Coleman has more than

20 years of experience in the legal field, holding both bachelor’s and master’s degrees, and is

currently a doctoral student in the business school at Liberty University. The Trustee regularly uses

the services of Ms. Coleman to reduce the overall expense of serving as Subchapter V Trustee.

       16.     The hourly rates charged on the attached exhibit are reduced rates from the usual and

customary charge to all of Mr. Martin’s clients for services of the type provided, at the time

provided.    This application covers the period September 1, 2021 through September 30, 2024.

This is a first interim compensation for post-confirmation work as a disbursing agent.

       17.     The Trustee is currently holding $9,953.74 in trust. Once the application is

approved, the Trustee will apply these funds to the amounts outstanding and the Trustee will bill

the Debtor for the delta.

                                   PROJECT SUMMARY

       18.     Pursuant to the U.S. Trustee’s Guidelines, the Trustee classified all services

performed for which compensation is sought into categories. The Trustee generally utilizes the

American Bar Association Code Set, although depending on the needs of the case, includes

additional task codes. The Trustee attempted to divide the services he rendered into appropriate

categories. However, because certain services may relate to more than a single category, services


FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 5
           Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 6 of 7




pertaining to one category may be included in another category. In an effort to reduce costs to the

bankruptcy estate, the Trustee uses a paralegal. A summary of the time expended by the Trustee

and his paralegal, together with their respective hourly rates by project category are attached as

Exhibit A. A detailed statement of the services rendered, time expended, and expenses incurred is

attached hereto as Exhibit B provides detailed descriptions of the services the Trustee rendered

with respect to each of these categories.

                                                  CONCLUSION

            WHEREFORE, Jarrod B. Martin, the duly appointed Subchapter V Trustee requests that

    this Court enter an order approving his fees in the amount of $19,623.43 on an interim basis; 6

    and allowing him that amount as an administrative expense against the bankruptcy estate. A

    proposed order is attached.

          Dated: October 26, 2024
                                                        Respectfully submitted,

                                                        By: /s/ Jarrod B. Martin
                                                        Jarrod B. Martin, Subchapter V Trustee
                                                        Texas Bar No. 24070221
                                                        1200 Smith Street, Suite 1400
                                                        Houston, Texas 77002
                                                        D: 713.356.1280
                                                        F: 713.658.2553
                                                        E: JBM.Trustee@chamberlainlaw.com

                                                        Subchapter V Trustee




6
    The Trustee intends to file fee applications and requests for compensation in relation to post-confirmation work.

FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 6
       Case 21-30895 Document 105 Filed in TXSB on 10/26/24 Page 7 of 7




                               CERTIFICATE OF SERVICE

       This is to certify that on October 26, 2024, a true and correct copy of the above
and foregoing Application has been forwarded by ecf to the parties listed below.

Debtor’s Attorney
Nima Taherian

US Trustee’s Attorney
Jana Smith Whitworth




                                                   /s/ Jarrod B. Martin
                                                   Jarrod B. Martin




FIRST INTERIM APPLICATION FOR COMPENSATION OF THE SUBCHAPTER V TRUSTEE AS DISBURSING AGENT
                                                                                       PAGE | 7
